           Case 3:19-cv-02099-RS Document 102 Filed 09/26/22 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                    RELATED CASE ORDER


        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge assigned
to case

         19-cv-02099-RS Federal Home Loan Mortgage Corporation ("Freddie Mac")
         v. Keo et al

        I find that the more recently filed case(s) that I have initialed below are related to the case
assigned to me, and such case(s) shall be reassigned to me. Any cases listed below that are not
related to the case assigned to me are referred to the judge assigned to the next-earliest filed case
for a related case determination.


Case               Title                                                         Related Not Related
22-cv-5317 SK      CHANHT REATREY KEO, v. MARIN COUNTY, et
                   al.,                                                                      X

                                               ORDER

         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


Dated:                                             By:
                                                   Richard Seeborg
                                                   Chief United States District Judge




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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

                                  CLERK’S NOTICE


       The court has reviewed the motion and determined that no cases are related and no
reassignments shall occur.


Dated: 9/26/2022                           By:
                                           Corinne Lew, Deputy Clerk
                                           415-522-2000




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